           Case 1:10-cv-00003-BLW Document 62 Filed 03/01/11 Page 1 of 2




                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO



 COMMONWEALTH LAND TITLE
 INSURANCE COMPANY, a Nebraska                    Case No. 1:10-CV-003-BLW
 Corporation, Subrogee of KM
 Construction Lending, LLC, Subrogor,             ORDER

                      Plaintiff,

        v.

 JON NISHIKAWA, an individual,
 CAMERON BALDWIN, an individual,
 IDAHO APPRAISAL COMPANY, an
 Idaho Corporation,

                      Defendants.



      The Court has before it the parties’ Stipulation for Dismissal With Prejudice of

Defendant Jon Nishikawa, Cameron Baldwin, and Idaho Appraisal Company (Dkt. 61).

Good cause appearing, the Court will grant the motion and dismiss the claims against Jon

Nishikawa, Cameron Baldwin, and Idaho Appraisal Company.

                                         ORDER

      IT IS ORDERED:

      1.       The parties’ Stipulation for Dismissal With Prejudice of Defendant Jon

               Nishikawa, Cameron Baldwin, and Idaho Appraisal Company (Dkt. 61) is



ORDER - 1
           Case 1:10-cv-00003-BLW Document 62 Filed 03/01/11 Page 2 of 2



               GRANTED. The claims against Defendants Jon Nishikawa, Cameron

               Baldwin, and Idaho Appraisal Company shall be dismissed with prejudice.

      2.       The Court will enter a separate judgment in accordance with Federal Rule

               of Civil Procedure 58.




                                          DATED: March 1, 2011




                                          B. LYNN WINMILL
                                          Chief U.S. District Court Judge




ORDER - 2
